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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK
PAUL PHILIPPE OF ROMANIA, on
behalf of the ESTATE OF KING CAROL II       Case No.: 1:25-cv-01151-LLS
OF ROMANIA,
                  Plaintiff,
                                            MEMORANDUM IN SUPPORT OF
      -against-                             STATE OF ROMANIA’S MOTION TO
                                            DISMISS FOR LACK OF
CHRISTIE’S, INC.,                           JURISDICTION, OR, ALTERNATIVELY,
                                            MOTION TO STAY PENDING STATE
                  Defendant.                COURT ACTION
CHRISTIE’S, INC.,
                  Counterclaim and Third-
                  Party Plaintiff,

      -against-

PAUL PHILIPPE OF ROMANIA, on
behalf of the ESTATE OF KING CAROL II
OF ROMANIA,

             Counterclaim Defendant, and

ACCENT DELIGHT INTERNATIONAL
LTD. and STATE OF ROMANIA,

             Third-Party Defendants.

ACCENT DELIGHT INTERNATIONAL
LTD.,

                  Interpleader Defendant
                  and Cross-Claim
                  Plaintiff,

      -against-

PAUL PHILIPPE OF ROMANIA, on
behalf of the ESTATE OF KING CAROL II
OF ROMANIA, and STATE OF
ROMANIA,

                  Interpleader Defendants
                  and Cross-Claim
                  Defendants.
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I.     INTRODUCTION

       This action involves competing claims for ownership of the painting Saint Sebastian, by

Doménikos Theotokópoulos (called El Greco), oil on canvas, oval 35 ½ x 27 ¾ in. (90.2 x 70.5

cm.) (the “Painting”).

       Accent Delight Int’l Ltd. (“Accent”), a foreign entity, consigned the Painting to Christies,

Inc. to be offered for sale at auction, scheduled for February 5, 2025. The State of Romania

(“Romania”) asserted a claim of ownership and Christie’s withdrew the Painting from the auction.

After New York media reported on Romania’s claim and Christie’s withdrawal, plaintiff Paul

Philippe (“Plaintiff” or “Paul Philippe”) filed this action and claimed superior title to the Painting.

Plaintiff’s lawsuit was against Christie’s, only. Christie’s, in turn, filed an interpleader action and

named Accent and Romania as additional, necessary parties. Plaintiff and Accent have since filed

responses to Christie’s interpleader; Accent also asserted cross-claims against Romania.

       Romania, however, is a foreign state and presumptively immune from this Court’s

jurisdiction. No statutory exception to Romania’s sovereign immunity applies, and Romania must

therefore be dismissed from this action pursuant to Rule 12(b)(1). In addition, because Romania

is an indispensable party and the case cannot proceed in its absence, the case must be dismissed

pursuant to Rule 19(b) and 12(b)(7).

       This action must also be dismissed, pursuant to Rule 12(b)(1), because there is not

complete diversity between the parties. Accent and Romania are both necessary and indispensable

to Plaintiff’s replevin action and, like the Plaintiff, they are both foreign citizens. The citizenship

of absent, yet indispensable parties must be considered for diversity purposes. When the

citizenship of Accent and Romania is considered, diversity is lost.

       Dismissal of this action for any of the above reasons will not cause prejudice to the parties

because there is a parallel action pending in state court that includes the same parties, concerns the



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same Painting, and is free of any jurisdictional deficiency. Thus, even if there was some basis for

jurisdiction, the Court should decline jurisdiction pursuant to Wilton v. Seven Falls Co. and abstain

in favor of the parallel state court proceeding.

II.     PROCEDURAL HISTORY

        A.      Plaintiff’s Complaint

        On February 9, 2025, Plaintiff, on behalf of the Estate of King Carol II of Romania, filed

a lawsuit against Christie’s for replevin of the Painting. (Dkt. 1, Complaint, ¶ 1.) Plaintiff claimed

he was the grandson and principal heir of King Carol II and that he brought this action “on a

temporary basis while he petitions the New York County Surrogate’s Court for appointment as the

Estate’s ancillary administrator.” (Id., ¶ 2.) Plaintiff alleged the Painting was owned by King

Carol II, and that it had been stolen in 1947 by King Carol II’s second born son, Michael. (Id., ¶

3.)

        Plaintiff alleged that Michael sold the Painting to New York art dealer Wildenstein & Co.,

and that Wildenstein & Co. knew the Painting was stolen. (Id., ¶ 5.) Plaintiff alleged Christie’s

obtained possession of the Painting from an “unknown consignor who instructed Christie’s to sell

the painting at auction. (Id., ¶ 3.) Plaintiff alleged the Painting resurfaced in New York in February

2025 as one of the “Old Masters” paintings to be auctioned by Christie’s. (Id., ¶ 6.) Plaintiff

alleged that Christie’s withdrew that Painting from the auction after Romania asserted an

ownership claim. (Id.)

        Plaintiff acknowledged that Romania’s ownership claim was reported in the papers, but

sought to dismiss the relevance by alleging the claim was barred by the affirmative defenses of res

judicata and issue preclusion. (Id., ¶¶ 6-8.) Plaintiff also alleged that Romania’s ownership claim

failed on the merits (id., ¶ 35), and that Plaintiff’s title to the Painting is superior to that of Christie’s

and the “anonymous consignor.” (Id., ¶ 58.)



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       Plaintiff alleged this Court has subject matter jurisdiction based on diversity between the

two parties in the lawsuit, Paul Philippe and Christie’s. (Dkt. 1, ¶ 12.) Plaintiff knew of Romania’s

ownership claim (id., ¶ 6) and knew another party had consigned the Painting to Christie’s and

would have a claim (id., ¶ 58), but Plaintiff did not name either of the competing claimants as a

defendant or include any “Doe” defendants in his complaint for replevin.

       Romania considers Plaintiff to be a fugitive. (See Declaration of Paul F. Downs (“Downs

Decl.”), Exhibit A.) In December 2020, Plaintiff was convicted in Romania for serious crimes

based on his bad faith attempt to recover property that did not belong to him. (Complaint, ¶ 45.)

Plaintiff alleged that he was in Portugal when the conviction was announced and Romania was

unable to arrest him. (Id., ¶ 46.) Plaintiff alleged that despite subsequent extradition requests, and

arrests in France and Malta, no country has extradited him to Romania to serve his prison sentence.

(Id., ¶¶ 50-51.) Plaintiff was arrested again, in France, on April 7, 2025, in connection with the

2020 conviction and pursuant to a European arrest warrant. (Downs Decl., Exhibits A-B.)

       B.      Plaintiff’s Motion for a Temporary Restraining Order

       On February 11, 2025, Plaintiff filed a motion for preliminary injunction and temporary

restraining order (TRO). (Dkt. 10.) Plaintiff argued that because of Romania’s claim and

Christie’s decision to postpone the auction, there was an “imminent risk that Christie’s and its

consignor will anticipate this lawsuit or a similar one and take steps to insulate the Painting from

impoundment or injunctive relief by removing it from New York.” (Id., at 7.)

       Plaintiff and Christie’s consented to a TRO through March 3, 2025, which the Court

ordered by endorsement. (Dkt. 15.) The Court extended the TRO to July 1, 2025, based on a

subsequent letter from Christie’s. (Dkt. 20.)




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       C.      Christie’s Answer and Interpleader

       On February 26, 2025, Christie’s answered Plaintiff’s complaint. (Dkt. 18.) Christie’s

also asserted an interpleader counterclaim against Plaintiff and, pursuant to Rule 22, third-party

interpleader claims against Accent and Romania. (Dkt. 18, at 10, ¶ 1.) Christie’s made no claim

of ownership to the Painting (id., ¶ 2), asserting instead it was a “disinterested stakeholder holding

the Painting which Plaintiff and other parties . . . claim to own” and that it was ready and willing

to deliver the Painting to such person or entity as the Court ordered. (Dkt. 18, at 9, Tenth

Affirmative Defense; and at 14, ¶ 26.)

       Christie’s alleged that Plaintiff is a citizen of the U.K. and Romania who resides in France;

that Accent is an entity incorporated in the British Virgin Islands; and that Romania is a foreign

state, as defined in 28 U.S.C. § 1603(a). (Id., ¶ 4-6.) Christie’s alleged the Court had jurisdiction

because there was complete diversity between it, on one hand, and Plaintiff, Accent and Romania,

on the other. (Id., at 11, ¶ 7.) Christie’s further alleged that Romania, a foreign sovereign, was

subject to jurisdiction under two exceptions to the Foreign Sovereign Immunity Act (“FSIA”),

specifically, the exceptions found at 28 U.S.C. § 1605(a)(3) and § 1605(a)(4). (Id., ¶ 8.)

       D.      Romania’s State Court Complaint

       On February 26, 2025, Romania filed a complaint for recovery of the Painting in the New

York Supreme Court for the County of New York (the “New York Action”). (Downs Decl.,

Exhibit C.) Romania named Christie’s, Paul Philippe, Accent, Dmitri Rybolovlev and the

Painting, in rem, as defendants. (Id.) Pursuant to an agreement with counsel for Christie’s and

Accent, Romania will file an amended state court complaint that omits the claims against Christie’s

and Dmitri Rybolovlev. (Downs Decl., ¶7, Exhibit D.)




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          E.     Paul Philippe’s Answer to Christie’s Interpleader

          On March 7, 2025, Plaintiff answered Christie’s Interpleader Action, and conceded “that a

determination of the lawful owner of the Painting needs to be settled in a single forum in a manner

that is binding on all the Interpleader Defendants.” (Dkt. 22, ¶ 24.) Plaintiff made no allegation

that the Court had subject matter jurisdiction.

          F.     Accent’s Answer and Cross-Claims

          On April 14, 2025, Accent filed its Rule 7.1 Corporate Disclosure Statement and answered

Christie’s Interpleader Action. (Dkt. 38, 39.) In its Disclosure Statement, Accent stated that it

was owned by Bolton Trustees Limited, of Cyprus, as trustees of the Domus Trust, and that no

publicly held corporation owns more than 10% of its stock. (Dkt. 38.) In its Answer, Accent

alleged it was incorporated in the British Virgin Islands, that Romania was a foreign state and that

Paul Philippe, upon information and belief, was a citizen of the U.K. and Romania who resides in

France. (Dkt. 39, at 6, ¶¶ 3-5.) Accent made no allegation that the Court had subject matter

jurisdiction.

          Accent claimed it acquired the Painting from a professional art dealer in 2010, and that it

learned later Romania had “allowed King Michael I to take the Painting with him[.]” (Id., at 5, ¶

1.) Accent asserted a cross-claim against Plaintiff and Romania for declaratory judgment. (Id., at

5.) Accent separately cross-claimed against Romania for tortious interference with contract. (Id.,

at 12.)

III.      LEGAL STANDARDS

          A.     Motion to Dismiss Romania for Lack of Jurisdiction Based on the Foreign
                 Sovereign Immunity Act

          The FSIA “provides the sole basis for obtaining jurisdiction over a foreign state in the

courts of this country.” Argentine Republic v. Amerada Hess Shipping Corp., 488 U.S. 428, 443




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(1989). The FSIA’s premise is that foreign sovereigns, like Romania, are immune from suit in the

U.S. unless the action falls under one of the specific exceptions enumerated in the statute. See, 28

U.S.C. § 1604; Saudi Arabia v. Nelson, 507 U.S. 349, 355 (1993) (“Under the Act, a foreign state

is presumptively immune from the jurisdiction of U.S. courts; unless a specified exception applies,

a federal court lacks subject-matter jurisdiction over a claim against a foreign state.”)

       In a motion to dismiss on FSIA grounds, once the foreign sovereign makes a prima facie

showing it is a foreign state, “the opposing party ‘has the burden of going forward with evidence

showing that, under exceptions to the FSIA, immunity should not be granted.’” Freund v. Republic

of Fr., 592 F. Supp. 2d 540, 552 (S.D.N.Y. 2008) (quoting Cabiri v. Gov’t of the Republic of

Ghana, 165 F.3d 193, 196 (2d Cir. 1999)); see also Swarna v. Al-Awadi, 622 F.3d 123, 143 (2d

Cir. 2010) (“burden falls on the plaintiff to establish by a preponderance of the evidence that an

exception under the FSIA permits jurisdiction over the foreign sovereign”). To meet that burden,

the party arguing for jurisdiction must present evidence that shows, and not just arguably shows,

the exception applies; “[s]imply making a nonfrivolous argument to that effect is not sufficient.”

Bolivarian Republic of Venezuela v. Helmerich & Payne Int'l Drilling Co., 581 U.S. 170, 187

(2017). “Moreover, where jurisdictional questions turn upon further factual development, the trial

judge may take evidence and resolve relevant factual disputes.” Helmerich, 581 U.S. at 174.

       Romania is a foreign state and presumptively immune. To defeat Romania’s immunity,

Christie’s alleged that (1) the expropriation exception (1605(a)(3)) applies because “the Painting

is claimed to be the lawful property of the State of Romania, wrongfully removed from the country

in 1947” and (2) the successor exception (1605(a)(4)) applies because “the Painting is located in

the United States[.]” (Dkt. 18, at 11, ¶ 8.) As discussed below, these allegations are insufficient

to show that either exception applies and, moreover, the facts show that neither exception applies.




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Hulton v. Bayerische Staatsgemaldesammlungen, 346 F. Supp. 3d 546, 549 (S.D.N.Y. 2018) (“the

possibility that the Court might resort to evidence outside the pleadings does not relieve Plaintiffs

of their burden to set out factual allegations in the Complaint that amount to ‘a legally valid claim’

under the FSIA and its exceptions”) (quoting Helmerich, 581 U.S. at 174)).

                1.      Requirements to Satisfy the Expropriation Exception to the FSIA

        To satisfy the expropriation exception, §1605(a)(3), Christie’s must show that “(1) rights

in property are in issue; (2) that the property was “taken”; (3) that the taking was in violation of

international law; and (4) that one of the two nexus requirements is satisfied.” Zappia Middle E.

Const. Co. v. Emirate of Abu Dhabi, 215 F.3d 247, 251 (2d Cir. 2000).

        This requires Christie’s to first show the Painting was taken in violation of the international

law of expropriation; in other words, that a state took the Painting from an alien, a citizen of another

state. Fed. Republic of Germany v. Philipp, 592 U.S. 169, 180 (2021) (exception requires showing

that “a state deprived ‘an alien’ of property”) (quoting Restatement (Second) of Foreign Relations

Law § 185 (1965)). Christie’s makes no such allegation. Instead, Christie’s alleged only that “the

Painting is claimed to be the lawful property of the State of Romania, wrongfully removed from

the country in 1947.” (Dkt. 18, at 11, ¶ 8.) But the expropriation exception does not apply to

claims regarding property that was taken from the foreign state. Philipp, supra, 592 U.S. at 180.

There is no allegation (or evidence) that Romania took the Painting from an alien in violation of

international law.

        Christie’s also makes no allegation to satisfy either of the “nexus requirements”, which

separately require that the Painting (or property exchanged for the Painting) is present in the U.S.

in connection with a commercial activity carried on in the U.S. by Romania, or is owned by an

agency or instrumentality of Romania that is engaged in commercial activity in the U.S.




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               2.      Requirements to Satisfy the Successor Exception to the FSIA

       The successor exception is based on the 1952 Tate letter, which stated, among other things,

that sovereign immunity should not be granted “with respect to the disposition of the property of

a deceased person even though a foreign sovereign is the beneficiary.” H.R. R EP. NO. 94-1487, at

20 (1976), reprinted in 1976 U.S.C.C.A.N. 6604, 6619. The exception applies when a foreign

sovereign asserts a claim with respect to the disposition of a decedent’s property located in the

U.S. This exception is described in the legislative history as providing a “pretty clear exception

for estate … matters in this country[.]” Immunities of Foreign States: Hearings on H.R. 3493

Before the Subcomm. on Claims and Gov’tl Relations of the House Comm. on the Judiciary, 93d

Cong. 21 (1973) (“1973 House Hearing”) (testimony of Charles N. Brower, Acting Legal Adviser,

Department of State); and Cassirer v. Kingdom of Spain, 616 F.3d 1019, 1031 (9th Cir. 2010)

(explaining that the successor exception applies when a foreign state asserts “rights in an estate”)

(emphasis added); see also In re Republic of Philippines, 309 F.3d 1143, 1150 (9th Cir. 2002)

(“For the reasons we now explain, we conclude the exception applies only when the sovereign’s

claim is as a successor to a private party”).

       To satisfy this exception, therefore, Christie’s must allege and show that Romania is acting

as a successor to a private party and asserting its claim in a U.S. estate proceeding that is disposing

of a decedent’s property. Christie’s makes no such allegation.

       As discussed below, Romania is immune, no exceptions to the FSIA apply, and Romania

should be dismissed.

       B.      Motion to Dismiss Entire Action When the Joinder of Romania, a Necessary
               Party, Is Not Feasible

       If a party that is necessary to the action cannot be joined, “the district court must determine

whether the claim should be dismissed because the necessary party is “indispensable.” Jonesfilm




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v. Lion Gate Int’l, 299 F.3d 134, 139 (2d Cir. 2002); see also Fed. R. Civ. P. 19. “Under Rule

19(a), a party is deemed necessary if the court ‘cannot accord complete relief among existing

parties,’ or if proceeding would impede the absent party’s interest or expose the present parties to

‘double, multiple, or otherwise inconsistent obligations.’” Vision en Analisis y Estrategia, S.A. de

C.V. v. Andersen, No. 14-CV-8016 SAS, 2015 WL 4510772, at *5 (S.D.N.Y. July 24, 2015)

(quoting Fed. R. Civ. P. 19(a)). If a “necessary” party cannot be joined to the action, Rule 19(b)

requires the court to “determine whether, in equity and good conscience, the action should proceed

among the existing parties or should be dismissed.” Fed. R. Civ. P. 19(b). The Rule provides four

factors for the Court to consider when making this determination:

            (1) the extent to which a judgment rendered in the person’s absence might
            prejudice that person or the existing parties;

            (2) the extent to which any prejudice could be lessened or avoided by: (A)
            protective provisions in the judgment; (B) shaping the relief; or (C) other
            measures;

            (3) whether a judgment rendered in the person’s absence would be adequate;
            and

            (4) whether the plaintiff would have an adequate remedy if the action were
            dismissed for nonjoinder.

Id. As discussed below, these factors favor dismissal of the federal court action, particularly in

light of the adequate relief that can be afforded in the New York Action.

       C.      Motion to Dismiss for Lack of Diversity Jurisdiction

       Federal courts are courts of limited jurisdiction: “Even where the parties are satisfied to

present their disputes to the federal courts, the parties cannot confer subject matter jurisdiction

where the Constitution and Congress have not.” Wynn v. AC Rochester, 273 F.3d 153, 157 (2d

Cir. 2001). Plaintiff sued Christie’s in federal court, asserting jurisdiction under § 1332(a)(2)

because there was complete diversity between the two named parties. As the party claiming there




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is jurisdiction, Plaintiff has the burden to establish such jurisdiction by a preponderance of the

evidence. Platinum-Montaur Life Scis., LLC v. Navidea Biopharmaceuticals, Inc., 943 F.3d 613,

617 (2d Cir. 2019).

        To establish jurisdiction under section 1332(a)(2), Plaintiff must show there is complete

diversity between opposing parties. This requirement is “explicit and unequivocal.” Int’l Shipping

Co., S.A. v. Hydra Offshore, Inc., 875 F.2d 388, 391 (2d Cir. 1989). However, when foreign parties

are involved, as they are here, “diversity is lacking . . . where the only parties are foreign entities,

or where on one side there are citizens and aliens and on the opposite side there are only aliens.”

Mazaya Trading Co. v. Li & Fung Ltd., 833 F. App’x 841, 843 (2d Cir. 2020) (citations omitted);

see also Corporacion Venezolana de Fomento v. Vintero Sales Corp., 629 F.2d 786, 790 (2d Cir.

1980) (“the presence of aliens on two sides of a case destroys diversity jurisdiction”). When

determining which parties are on opposite sides, for purposes of analyzing jurisdiction, the

Supreme Court instructs that we must:

            look beyond the pleadings, and arrange the parties according to their sides in
            the dispute. Litigation is the pursuit of practical ends, not a game of chess.
            Whether the necessary collision of interest exists, is therefore not to be
            determined by mechanical rules. It must be ascertained from the principal
            purpose of the suit, and the primary and controlling matter in dispute.

City of Indianapolis v. Chase Nat. Bank of New York, 314 U.S. 63, 69-70 (1941) (cleaned up)

(citations omitted); see also Maryland Cas. Co. v. W.R. Grace & Co., 23 F.3d 617, 622 (2d Cir.

1993), amended (May 16, 1994) (under this test, courts realign the parties (if necessary) so there

is “an actual, substantial controversy, or a collision of interests” between adversaries).

        Courts must also look beyond the caption to ensure the citizenship of all indispensable

parties is considered:

            ‘The requirement for complete diversity cannot be brought about by a party
            failing to join, either with himself or on the opposite side, a party who is an




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            indispensable party to the action, even though joining the absent party would
            result in a loss of jurisdiction by the federal court.’

Bentinck v. Guar. Tr. Co. of New York, 109 F. Supp. 827, 828 (S.D.N.Y. 1952) (quoting Metropolis

Theatre Co. v. Barkhausen, 170 F.2d 481, 484 (7th Cir. 1948)). “Instead, a necessary or

indispensable party to a lawsuit, even where no specific cause of action is asserted against it, should

be considered for diversity of jurisdiction purposes if it is a real party to the controversy.” Audi of

Smithtown, Inc. v. Volkswagen of Am., Inc., No. 08 Civ. 1773 (JFB) (AKT), 2009 WL 385541, at

*4 (E.D.N.Y. Feb. 11, 2009) (citing Calcote v. Texas Pac. Coal & Oil Co., 157 F.2d 216, 218 (5th

Cir. 1946)). If indispensable parties are not named in the initial pleading, the court must consider

those parties and factor their citizenship into the diversity analysis. Calcote, 157 F.2d at 218–19

(“federal jurisdiction depended wholly upon diversity of citizenship and it was impossible to

determine whether such diversity existed unless all indispensable parties were before the court and

the citizenship of each was a matter of record”). And if “the court would have had no jurisdiction

over the indispensable party at the commencement of the suit, the jurisdictional requirements

cannot be avoided by adding him later in the proceedings.” New York State Ass’n for Retarded

Children v. Carey, 438 F. Supp. 440, 445, n.4 (E.D.N.Y. 1977).

        The primary purpose of this action, the “collision of interests”, is the three-way ownership

dispute between Plaintiff, Accent and Romania. Accent and Romania are indispensable parties in

that collision of interests, and they are adverse to Plaintiff even if he did not sue them. Factoring

their citizenship into the jurisdictional analysis, as required, destroys diversity.

        As discussed below, Plaintiff cannot meet his burden of showing there is complete diversity

between the indispensable parties.




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IV.    LEGAL ARGUMENT

       A.      FSIA Requires Dismissal of Romania

               1.      Romania is a “Foreign State” and Presumptively Immune

       There is no dispute that Romania is a “foreign state” as defined by 28 U.S.C. § 1603(a).

According to the FSIA, “a foreign state is presumptively immune from the jurisdiction of United

States courts[.]” Saudi Arabia, 507 U.S. at 355. Unless one of the specified statutory exceptions

applies, this Court lacks subject matter jurisdiction over the claims against Romania. Id.

               2.      No Exceptions Apply to Romania’s Immunity as a Foreign Sovereign

       Christie’s cited the expropriation and the successor exceptions as grounds for this Court’s

jurisdiction over Romania. These exceptions do not apply, and no other party has asserted a

separate basis for this Court’s jurisdiction over Romania.

                       a.      The Expropriation Exception Does Not Apply

       The expropriation exception applies only when property is taken in violation of the

international law of expropriation. Philipp, 592 U.S. at 187. This requires showing that a state

has expropriated the property of an alien: “‘taking of property’ could be ‘wrongful under

international law’ only where a state deprived ‘an alien’ of property.” Id., at 180 (quoting

Restatement (Second) of Foreign Relations Law § 185). This does not include a state’s taking of

property from its own citizens. Id., at 176 (“what a country does to property belonging to its own

citizens within its own borders is not the subject of international law”). To support application of

this exception, Christie’s cites to King Michael’s 1947 theft of the Painting. That theft, however,

did not amount to a state depriving an alien of property and it did not violate the international law

of expropriation.

       Further, even if King Michael’s theft violated the international law of expropriation, the

exception would not apply because Christie’s makes no allegation to satisfy the nexus requirement.



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Rukoro v. Fed. Republic of Germany, 976 F.3d 218, 228 (2d Cir. 2020) (dismissing for lack of

allegation that “the expropriated property is currently present in the United States in connection

with commercial activity”). Nor is there any evidence to support this requirement—the Painting

is not owned by a separate “agency or instrumentality” of Romania and is not present in the U.S.

as the result of Romania’s commercial activity. To the contrary, the Painting was brought to New

York by the consignor Accent, without Romania’s involvement or knowledge.

                        b.     The Successor Exception Does Not Apply

         Pursuant to 28 U.S.C. § 1605(a)(4), a foreign state is not immune from jurisdiction in any

case “in which rights in property in the United States acquired by succession or gift or rights in

immovable property situated in the United States are in issue[.]” This exception is based on the

1952 Tate letter, which included the following analog: “sovereign immunity should not be claimed

or granted in actions . . . with respect to the disposition of the property of a deceased person even

though a foreign sovereign is the beneficiary.” H.R. REP. NO. 94-1487, at 20. Despite an

exhaustive search, no case was found where this exception was applied to a foreign sovereign’s

claim for property it previously received by succession in a foreign state that was later transported

to the U.S. for unrelated reasons.

         Discussion of the exception makes clear it was meant for situations where the foreign state

asserted a claim to property located in, and being administered in, the U.S. as part of an estate

proceeding and the foreign state’s claim was “as a successor to a private party.” See e.g., 1973

House Hearing, 21; Cassirer, 616 F.3d at 1031 (exception was meant to apply when foreign state

is “asserting rights in an estate”); and In re Philippines, 309 F.3d at 1150 (“the exception applies

only when the sovereign’s claim is as a successor to a private party”). That is not what happened

here.

         Romania’s first king, Carol I, owned the Painting until he died in 1914 in Romania, at



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which point the Painting was transferred pursuant to his will to “remain forever and entirely in the

country, as the property of the Crown of Romania.” (Downs Decl., Exhibit E, at 4-5; and Exhibit

F.) After King Carol I’s death, his succession and will were opened and administered by a

Romanian tribunal. (Downs Decl., Exhibit G, at 21.) Pursuant to King Carol I’s will, after his

death the Painting became part of the Crown Domain, a public institution that is distinct from the

King’s personal estate. (Downs Decl., Exhibit E, at 6-8 (“Crown’s assets belong to the State of

Romania and are therefore public assets. The King is not the owner of them in his own right and

cannot dispose of them.”).) Romania abolished the monarchy and dissolved the Crown Domain

in 1947, at which point the Painting and other Crown Domain assets were reintegrated in the public

domain of the newly formed Romania People’s Republic. (Id., at 9.) Romanian law instructs that

the State of Romania is the actual and legal successor to the Crown of Romania, and thus the

rightful owner of the Painting, which is part of Romania’s national heritage. (Id., at 9-10.) The

ownership dispute in New York is not over claims to property being administered in a U.S. estate

proceeding; it is over competing claims to a Painting that became part of Romania’s public assets

in 1914.

       Romania must be dismissed because it is immune from this Court’s jurisdiction and none

of the cited exceptions apply.

       B.      Dismissal of Romania, an Indispensable Party, Requires Dismissal of the
               Entire Action - Rule 19(b), 12(b)(7)

       Each of the other parties have asserted claims that would require Romania’s presence in

this action. Plaintiff’s claim for replevin requires resolution of Romania’s competing claim for

the Painting. Christie’s named Romania as a defendant, seeks a determination of which claimant

has “superior right, title and interest” in the Painting, and cites concern of potential multiple suits

and multiple liability arising from the competing ownership claims. (Dkt. 18, at 13 ¶ 24.) Accent




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likewise asserted claims against Romania for declaratory relief and tortious interference with

contract. (Dkt. 39.)

        The absence of Romania from this action would prevent this Court from providing

complete relief on the other parties’ claims. Romania’s absence would also impede its ability to

protect its interest in the Painting and would leave Christie’s subject to “substantial risk of

incurring double, multiple, or otherwise inconsistent obligations.” Accordingly, pursuant to Rule

19(a), Romania is a necessary party to this action and the claims asserted therein. See also

Republic of Philippines v. Pimentel, 553 U.S. 851, 863–64 (2008) (“The Republic and the

Commission are required entities because ‘[w]ithout [them] as parties in this interpleader action,

their interests in the subject matter are not protected’”) (alteration in original, citation omitted).

        Because Romania is a necessary party that is also immune and must be dismissed, the Court

must determine if the entire action must be dismissed because Romania is “indispensable.” Fed.

R. Civ. P. 19(b) (“If a person who is required to be joined if feasible cannot be joined, the court

must determine whether, in equity and good conscience, the action should proceed among the

existing parties or should be dismissed”); see also Seneca Nation of Indians v. New York, 383 F.3d

45, 48 (2d Cir. 2004) (affirming district court’s finding that “the State of New York was an absent

and indispensable party under Rule 19 […] and that the action was thus barred by sovereign

immunity”); Freedom, N.Y. Inc. v. United States, No. 86 CIV. 1363 (CBM), 1986 WL 6163, at *4

(S.D.N.Y. May 27, 1986) (dismissing lawsuit pursuant to Rule 12(b)(7) when absent third party

was indispensable per Rule 19(b) but was not amenable to court’s jurisdiction).

        Although Rule 19(b) provides four factors to consider in making this determination,

Romania’s sovereign immunity is compelling by itself when determining whether the action

should be dismissed because of Romania’s absence. Fluent v. Salamanca Indian Lease Auth., 928




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F.2d 542, 548 (2d Cir. 1991) (“when an indispensable party is immune from suit, there is very

little room for balancing of other factors set out in rule 19(b), because immunity may be viewed

as one of those interests compelling by themselves”) (cleaned up) (citations omitted). For purposes

of Rule 19, an indispensable party’s sovereign immunity is accorded “paramount importance.”

Id., at 548. Even if Romania’s sovereign immunity was not given paramount importance, each of

Rule 19(b)’s factors favors dismissal.

       First, Romania and its claim for the Painting would be severely prejudiced if the Court

determined ownership of the Painting in Romania’s absence. Pimentel, 553 U.S. at 869 (“the

decision to proceed in the absence of the Republic and the Commission ignored the substantial

prejudice those entities likely would incur”); see also Rule 19(b)(1). Second, there is no method

to lessen or avoid the prejudice Romania would suffer if a judgment was rendered in its absence;

i.e., no remaining party would protect Romania’s interest. See, e.g., id., at 869-870; see also Rule

19(b)(2). Third, any judgment rendered in Romania’s absence would not be adequate because

Romania’s rights and ownership claim would not be extinguished, Romania would not be bound

by the judgment, and Romania could pursue its rights elsewhere. Id., at 870–71 (“Going forward

with the action without the Republic and the Commission would not further the public interest in

settling the dispute as a whole because the Republic and the Commission would not be bound by

the judgment”); see also Rule 19(b)(3). Fourth, there is an adequate alternative remedy for the

remaining parties in the New York Action, already filed, which includes the same parties, covers

the same subject matter, and does not have the same jurisdictional deficiencies. Errico v. Stryker

Corp., 281 F.R.D. 182, 191-192 (S.D.N.Y. 2012) ; see also Rule 19(b)(4). When considering this

fourth factor, the district court in Errico found significance in the availability of other actions to

resolve the dispute:




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            [T]he presence of [defendant’s] lawsuit in Michigan state court ensures that
            Plaintiffs will not have to ‘start over,’ as that lawsuit is already underway and
            provides an adequate forum [or, in the alternative] Plaintiffs may refile their
            lawsuit in state court in New York, where the parties have consented to
            jurisdiction. While this may reset the litigation in a procedural sense, judicial
            economy is better served with a state court lawsuit involving all required
            parties, instead of a judgment from a federal court that does not resolve the
            dispute between all parties, and leaves open the possibility for further litigation.
            … In any event, a lawsuit by Plaintiffs in state court would likely allege
            identical facts and seek the same damages that are sought in this action.

Errico, 281 F.R.D. at 192; see also, e.g., Smith v. Kessner, 183 F.R.D. 373, 376 (S.D.N.Y.1998).

       The combination of Romania’s sovereign immunity and the relevant factors favors

dismissal of this action, pursuant to Rule 19(b) and 12(b)(7).

       C.       The Case Must Be Dismissed Because There Is Not Complete Diversity
                Among the Necessary Parties

       This action was started by Paul Philippe’s action for replevin. Paul Philippe is a foreign

party. This Court has jurisdiction under 1332(a)(2) if, and only if, there are no foreign parties

adverse to Paul Philippe. Corporacion Venezolana, 629 F.2d at 790 (“the presence of aliens on

two sides of a case destroys diversity jurisdiction”).

       Plaintiff’s decision to sue only Christie’s for replevin, an entity that made no claim of

ownership to the Painting, created an illusion of diversity because Christie’s is a citizen of New

York. But a district court’s diversity analysis must include indispensable parties that were omitted

from the initial pleading. Bentinck, supra, 109 F. Supp. at 828; Audi of Smithtown, supra, 2009

WL 385541, at *4 (“a necessary or indispensable party to a lawsuit […] should be considered for

diversity of jurisdiction purposes”); and Calcote, 157 F.2d at 218–19 (noting it is “impossible to

determine whether such diversity existed unless all indispensable parties were before the court and

the citizenship of each was a matter of record”). As discussed above, Romania is a necessary and

indispensable party. Accent, the Painting’s consignor that likewise claims ownership of the

Painting, is also a necessary and indispensable party. (See also, Dkt. 18, Christie’s Eleventh



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Affirmative Defense (“Plaintiff has failed to include necessary and indispensable parties in this

action.”).) Romania and Accent are necessary and indispensable pursuant to Rule 19, and their

citizenship must be considered when analyzing the alleged basis for diversity jurisdiction.

       Federal courts are courts of limited jurisdiction. This Court must dismiss the action if it

lacks subject matter jurisdiction, whether or not some or all of the parties object to dismissal.

Wynn, 273 F.3d at 157. The absence of jurisdiction is “non-waivable; before deciding any case

we are required to assure ourselves that the case is properly within our subject matter jurisdiction.”

Id. There is not complete diversity between all necessary and indispensable parties. Paul

Philippe’s claim for the Painting is adverse to Romania and Accent, whose respective claims for

the Painting are, in turn, adverse to Paul Philippe and each other. Because this case is between

aliens, there is not complete diversity, the Court does not have jurisdiction, and the case must be

dismissed. Bayerische Landesbank, New York Branch v. Aladdin Cap. Mgmt. LLC, 692 F.3d 42,

49 (2d Cir. 2012) (“We have diversity jurisdiction over cases between citizens of the United States

and citizens of foreign states, but we do not have diversity jurisdiction over cases between aliens.”).

       Christie’s interpleader action was derivative of Paul Philippe’s replevin action, and a non-

compulsory counterclaim. Christie’s is a nominal party and disclaims any interest in the Painting.

Christie’s interpleader action cannot be used to create jurisdiction over the case between the

necessary and indispensable claimants that did not exist at the outset. Moreover, because Romania

must be dismissed as an immune foreign sovereign, the interpleader action must be dismissed

under Rule 19 even if there was diversity jurisdiction.




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         D.       The Court Should Abstain or Stay This Case in Favor of the New York
                  Action

         Under Wilton v. Seven Falls Co., 515 U.S. 277 (1995), a federal court may decline

jurisdiction and abstain in favor of a parallel proceeding in state court. 1 Here, the New York Action

and this case are concurrent and parallel because both cases involve the same parties and ultimately

seek a determination of ownership of the Painting. Analysis under Wilton weighs in favor of

abstention, particularly in light of Romania’s immunity from suit and the dubious jurisdictional

basis for this case.

                  1.       The New York Action and This Action Are Concurrent and Parallel

         Federal and state proceedings are considered parallel “when the two proceedings are

‘essentially the same’—when there is an identity of parties, and the issues and relief sought are the

same.” U.S. Bank Nat’l Ass’n as trustee Bank of Am., N.A. v. E. Fordham DE LLC, 804 F. App’x

106, 107 (2d Cir. 2020). “Perfect symmetry of parties and issues is not required. Rather,

parallelism is achieved where there is a substantial likelihood that the state litigation will dispose

of all claims presented in the federal case.” Shields v. Murdoch, 891 F. Supp. 2d 567, 577

(S.D.N.Y. 2012) (internal quotation omitted).

         This action and the New York Action are parallel because they “involve the same (i)

parties, (ii) subject matter, and (iii) relief requested.”              First Keystone Consultants, Inc. v.

Schlesinger Elec. Contractors, Inc., 862 F. Supp. 2d 170, 182 (E.D.N.Y. 2012). Both cases are at

their core a three-way ownership dispute over the Painting. And both actions involve the same

claimants: Romania, Paul Philippe, and Accent. The relief requested in both actions is also the



1
 “A motion to abstain ‘is considered as a motion to dismiss for lack of subject matter jurisdiction pursuant to Rule
12(b)(1) of the Federal Rules of Civil Procedure.’” Phillips v. Citibank, N.A., 252 F. Supp. 3d 289, 295 (S.D.N.Y.
2017).




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same. JPMorgan Chase Bank, N.A. v. Avara US Holdings LLC, No. 23-CV-7145 (JGK), 2024

WL 709068, at *6 (S.D.N.Y. Feb. 21, 2024) (“actions are parallel if the ‘main form of relief’

sought is the same and if the relief covers ‘the same essential issues’”). “‘Merely raising an

alternative theory of recovery, which may still be raised in state court, is not enough to differentiate

the federal suit from the state suit.’” JPMorgan Chase Bank, at *6 (quoting Telesco v. Telesco

Fuel & Masons' Materials, Inc., 765 F.2d 356, 362 (2d Cir. 1985)).

        In the New York Action, Romania asserts claims for, inter alia, conversion and replevin,

and seeks a declaratory judgment that it is the lawful owner of the Painting. (New York Compl.,

at PRAYER FOR RELIEF.) In this action, Paul Philippe asserts a cause of action for replevin,

seeking possession of the Painting, and Christie’s has in turn filed a Rule 22 interpleader to

“resolve [the parties’] respective claims to the Painting at issue[.]” (Christie’s Interpleader, at

WHEREFORE clause ¶ 2.) Accent has since answered Christie’s Interpleader and similarly

asserted a cross-claim for a declaratory judgment as to which party has superior title to the

Painting. (Accent Answer, at FIRST CROSS-CLAIM.)

        It is indisputable that the New York Action is parallel to this action and will dispose of all

claims presented in this case. Shields, 891 F. Supp. 2d at 577; see also Perlman v. Fid. Brokerage

Services LLC, 932 F. Supp. 2d 397, 416-17 (E.D N.Y. 2013) (“The question of who is entitled to

the [property] at the heart of the interpleader action is also one of the many issues before the [state]

Court, and in that sense, the interpleader action is parallel to the state proceeding”); Marrero v.

U.S. Bank Nat’l Ass’n, 2022 WL 4072936, at *6 (S.D.N.Y. Sept. 2, 2022) (abstaining where “both

actions turn on the validity of [defendant’s] interest in the Property”).




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                2.      Even if There Was a Basis for Jurisdiction, Wilton Provides this Court
                        with Substantial Discretion to Abstain in Favor of the New York
                        Action

        In Wilton, the Supreme Court approved a “standard vesting district courts with greater

discretion in declaratory judgment actions” to stay or dismiss a case in light of parallel state court

proceedings. Wilton, 515 U.S. at 286. Under Wilton, the district court may decline to hear

declaratory judgment suits in favor of pending state actions because “the normal principle that

federal courts should adjudicate claims within their jurisdiction yields to considerations of

practicality and wise judicial administration.” Id. at 288.

        Courts in the Second Circuit have applied Wilton to all claims where the relief sought is

ultimately declaratory in nature, including interpleader claims. See Glenclova Inv. Co. v. Trans-

Res., Inc., 874 F. Supp. 2d 292, 306 (S.D.N.Y. 2012) (“Although the interpleader complaints do

not explicitly invoke the Declaratory Judgment Act [“DJA”], they each seek a determination of

which of the defendants is entitled to the [property at issue], relief that is declaratory in nature.”);

Nat’l Union Fire Ins. Co. of Pittsburgh, Pa. v. Karp, 108 F.3d 17, 20 (2d Cir.1997) (“the ultimate

authority to grant declaratory relief in a case rests with the DJA itself, whether or not the claim for

declaratory relief is brought solely under the DJA or is added to claims for relief brought under

other auspices”).

        The Second Circuit has further held that “a district court can abstain from the declaratory

relief claims included in an interpleader action as a matter of its discretion” pursuant to Wilton

(Nat’l Union Fire, 108 F.3d at 20 (emphasis in original)), and “has thrice confirmed that ‘the

availability of interpleader jurisdiction does not require its exercise, and the district court acts

within its discretion to decline adjudicating issues raised in an interpleader action that can be

“fairly adjudicated” in state court.’” Glenclova, 874 F. Supp. 2d at 306 (citing Nat’l Union Fire,

108 F.3d at 21; Truck–A–Tune, Inc. v. Re, 23 F.3d 60, 63 (2d Cir. 1994); Am. Airlines, Inc. v.



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Block, 905 F.2d 12, 14 (2d Cir.1990) (per curiam) (“[I]t is well recognized that interpleader is an

equitable remedy, and a federal court may abstain from deciding an interpleader action if another

action could adequately redress the threat that the stakeholder might be held doubly liable.”)).

               3.      The Wilton Factors Weigh in Favor of Abstention

       Under Wilton, the overarching principle guiding the district court’s analysis is “whether

the questions in controversy between the parties to the federal suit . . . can better be settled in the

proceeding pending in the state court.” 515 U.S. at 282. The Wilton Court endorsed a non-

exclusive list of factors set forth in Brillhart v. Excess Ins. Co., 316 U.S. 491 (1942) as guiding

factors for when to abstain, and courts in this Circuit have since articulated the following factors

based on Wilton and Brillhart:

           (1) the scope of the pending state proceeding and the nature of the defenses
           available there; (2) whether the claims of all parties in interest can satisfactorily
           be adjudicated in that proceeding; (3) whether the necessary parties have been
           joined; and (4) whether such parties are amenable to process in that proceeding;
           (5) avoiding duplicative proceedings; (6) avoiding forum shopping; (7) the
           relative convenience of the fora; (8) the order of filing; and (9) choice of law.

TIG Ins. Co. v. Fairchild Corp., No. 07 Civ. 8250, 2008 WL 2198087, at *2 (S.D.N.Y. May 27,

2008 (collecting cases).

       Each factor weighs in favor of abstention. With respect to the first (1) through fifth (5)

Wilton/Brillhart factors, this action and the New York Action are virtually identical. The New

York Action involves the same parties, issues and claims to the Painting and is therefore entirely

duplicative of this proceeding. Further, all necessary parties have agreed to accept service of the

New York Complaint (Downs Decl., Exhibit H, at 2), and the New York Supreme Court’s

jurisdiction to decide this dispute and the respective rights of the parties is unquestioned. The New

York Action is thus the better and more effective forum to finally resolve this ownership dispute.

See, e.g., Nat’l Union Fire Ins. Co. of Pittsburgh, Pa. v. Warrantech Corp., No. 00 Civ. 5007




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(NRB), 2001 WL 194903, at *3 (S.D.N.Y. Feb. 27, 2001) (declining jurisdiction where “all of the

issues presented in this suit are either already asserted in the [state court] action or are readily

assertable as defenses to the third party claims and/or counterclaims in that suit”); Glencova, Inc.,

874 F. Supp. 2d at 307 (noting courts’ discretion to dismiss interpleader and declaratory judgment

actions where parallel state action has the ability to adjudicate all the parties’ respective rights).

        Turning to the sixth (6) and seventh (7) factors, the avoidance of forum shopping and

relative convenience of the fora, it is undisputable that both this Court and the New York Supreme

Court are equally convenient forums. See Glenclova, 874 F. Supp. 2d at 307 (“New York

[Supreme Court] . . . and the Southern District of New York are equally convenient fora for these

New York . . . and [foreign] parties”). Paul Philippe commenced this action only after learning of

Romania’s ownership claim to the painting. (See Compl., ¶ 6.) Christie’s, in turn, filed its

Interpleader after Romania had sent demand letters to Christie’s and Accent, and informed

Christie’s of its intent to file its action in state court. (Downs Decl., Exhibits I-K.) “Courts in the

Second Circuit have repeatedly refused to exercise jurisdiction over declaratory actions motivated

by a desire to wrest the choice of forum from the real plaintiff.” Nat’l Union Fire Ins. Co. of

Pittsburgh, Pa. v. Int’l Wire Grp., Inc., No. 02-cv-10338 (SAS), 2003 WL 21277114, at *6

(S.D.N.Y. June 2, 2003); see also Skiva International, Inc. v. Minx International Inc., No. 15-cv-

4580 (KBF), 2015 WL 5853854 (S.D.N.Y. Oct. 7, 2015) (granting motion to dismiss where

defendant filed a declaratory judgment action after receiving cease and desist letter from the natural

plaintiff); N. Am. Airlines, Inc. v. Int’l Bhd. of Teamsters, AFL-CIO, No. 04-cv-9949 (KMK), 2005

WL 646350, at *16 (S.D.N.Y. Mar. 21, 2005) (“courts take a dim view of declaratory plaintiffs

who file their suits mere days or weeks before the coercive suits filed by a ‘natural plaintiff’ and

who seem to have done so for the purpose of acquiring a favorable forum”). The circumstances




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of Plaintiff’s and Christie’s filings suggest this action was brought to deprive Romania from its

chosen forum, and, regardless, the New York Supreme Court is an equally convenient forum to

hear this dispute.

       Relatedly, with respect to the order of filing (the eighth (8) factor), both Romania’s

Complaint in New York Supreme Court and Christie’s Interpleader Complaint were filed on the

same day, parties in both cases have only just agreed to accept service, and both cases are in the

early, motion to dismiss phase of the litigation. Moreover, what matters in the Wilton inquiry is

not the “mechanistic accrual of rights that attaches by reason of reaching the courthouse first,” but

rather “what counts in the relevant inquiry, among other considerations, is which forum is better

and more efficiently equipped to serve the interests and convenience of the parties; whether

defenses may be adequately addressed in the alternative forum; [and] whether all of the issues and

parties in dispute may be joined and the conflict comprehensively adjudicated.” Dow Jones & Co.

v. Harrods, Ltd., 237 F. Supp.2d 394, 443 (S.D.N.Y. 2002), aff’d, 346 F. 3d 357 (2d Cir. 2003).

       Thus, the order of filing factor is of little significance as neither case has progressed beyond

the very early stages of litigation. Moreover, Romania’s immunity from this Court’s jurisdiction,

pursuant to the FSIA, creates a number of challenges to this case moving forward. Conversely, all

parties have agreed to accept service of the New York Action, where there are no jurisdictional

barriers to the case proceeding. As this Court has noted, “[t]o litigate the immunity issue

prematurely, in an independent plenary action—when no decision may ever be required—would

undercut rather than promote the ‘utilitarian values’ underlying the DJA.” Han v. Fin. Supervisor

Serv., No. 17CV4383GBDBCM, 2017 WL 7689223, at *6 (S.D.N.Y. Oct. 6, 2017), report and

recommendation adopted, 2018 WL 791353 (S.D.N.Y. Feb. 8, 2018). For this reason alone, this

Court should “abstain[] from whatever jurisdiction it has in this case.” Managing Directors’ Long




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Term Incentne Plan ex rel. Comm. v. Boccella, No. 14 CIV. 7033 PAC, 2015 WL 2130876, at *7

(S.D.N.Y. May 6, 2015).

        Finally, the ninth (9) Wilton/Brillhart factor—choice of law—again weighs in favor of

abstention. “Abstention under Wilton is particularly appropriate where the suit only presents issues

of state, but not federal, law.” Ace Am. Ins. Co. v. Graf Tech Int’l Ltd., No. 12-cv-6355 (RA),

2014 WL 2884681, at *4 (S.D.N.Y. June 24, 2014) (citation omitted); see also Travelers Indem.

Co. v. Philips Elecs. N. Am. Corp., No. 02-cv-9800 (WHP), 2004 WL 193564, at *2 (S.D.N.Y.

Feb. 3, 2004) (“Tipping heavily in favor of abstention in this case . . . is the fact that state law will

govern the outcome of this action.”). This is especially true where the claims at issue “necessarily

involve questions . . . that have traditionally been considered matters of important state interest.”

Hodge ex rel. Skiff v. Hodge, 78 F.Supp.2d 29, 32–33 (N.D.N.Y. 1999).

        This action involves no questions of federal law and there is no federal interest in this

ownership dispute over the Painting. Moreover, New York courts have repeatedly emphasized the

state’s “greater interest in seeking to preserve the integrity of transactions within its borders and

preventing the state from becoming a marketplace for stolen goods.” Angiolillo v. Christie’s, Inc.,

64 Misc. 3d 500, 519 (N.Y. Sup. Ct. 2019), aff’d, appeal dismissed, 185 A.D.3d 442 (2020); see

also Bakalar v. Vavra, 619 F.3d 136, 145 (2d Cir. 2010) (noting “the significantly greater interest

of New York, as articulated in Lubell and Elicofon, in preventing the state from becoming a

marketplace for stolen goods”); Solomon R. Guggenheim Found. v. Lubell, 77 N.Y.2d 311, 320

(1991) (“our decision today is in part influenced by our recognition that New York enjoys a

worldwide reputation as a preeminent cultural center”). Because this is a matter of purely state—

and Romanian—interest that has no special call on the federal forum, the ninth Wilton/Brillhart

factor strongly supports a decision to decline jurisdiction here.




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               4.      Alternatively, the Court Should Stay This Case in Favor of the New
                       York Action

       Even if the Court should find that the abstention doctrines do not oblige the Court to decline

jurisdiction over this case, the Court should exercise its own inherent powers to stay this

proceeding in favor of the New York Action. All the relevant factors favor a discretionary stay,

and there is ample precedent for such a stay even assuming abstention is inapplicable. See, e.g.,

Wells Fargo Bank, Nat’l Ass’n v. Patel, No. 24 CIV. 1162 (KPF), 2025 WL 844161 (S.D.N.Y.

Mar. 18, 2025) (declining to abstain from hearing case after finding cases were not “parallel,” but

nonetheless staying case pursuant to the court’s inherent power to control its docket); Thompson

v. Daxor Corp., No. 23 CIV. 8272 (KPF), 2024 WL 1484192, at *5 (S.D.N.Y. Apr. 5, 2024)

(holding “while the ‘identity of parties and issues in both actions’ is not sufficient for the purposes

of invoking [abstention], it is sufficient to counsel in favor of a stay of this action”); Glenclova,

874 F. Supp. 2d at 313 (S.D.N.Y. 2012) (same).

       District courts have broad discretionary powers to stay proceedings pursuant to their

inherent authority to manage dockets. See United States v. Kordel, 397 U.S. 1, 12 n. 27 (1970);

Louis Vuitton Malletier S.A. v. LY USA, Inc., 676 F.3d 83, 96 (2d Cir. 2012) (“[T]he power to stay

proceedings is incidental to the power inherent in every court to control the disposition of the

causes on its docket with economy of time and effort for itself, for counsel, and for litigants.”).

Such stays are often granted “to allow resolution of a similar cause of action pending in state

court.” De Carvalhosa v. Lindgren, 546 F. Supp. 228, 230 (S.D.N.Y. 1982) (quoting Clarkson

Co. v. Shaheen, 544 F.2d 624, 629 (2d Cir. 1976)); see also Giulini v. Blessing, 654 F.2d 189, 193-

94 (2d Cir. 1981) (“[A] federal court is not precluded, in the exercise of its discretion, from staying

proceedings in the action before it pending a decision by the state court, with a view to avoiding

wasteful duplication of judicial resources and having the benefit of the state court’s views”).




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          The relevant factors favor staying this case for the reasons outlined above. See Lindgren,

546 F. Supp. at 230 (identifying the seven Lindgren factors to consider). In fact, staying this case

in favor of the New York Action—where there are no jurisdictional barriers to the case

proceeding—will only expedite adjudication of the parties’ respective claims. See Glenclova, 874

F. Supp. 2d at 314 (staying case and “strongly suggest[ing] that the parties agree to litigate their

claims in the [state court]” due to the difficulty of obtaining personal jurisdiction over certain

defendants).

          For all the foregoing reasons, Romania respectfully submits that this Court should abstain

from hearing or, alternatively, stay this case in favor of the New York Action as it deems

appropriate.

V.        CONCLUSION

          For the reasons set forth above, Defendant respectfully moves the Court to dismiss this

action.




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Dated: May 30, 2025               NIXON PEABODY LLP


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                            CERTIFICATION OF WORD COUNT

       I hereby certify that the word count of this Memorandum of Law in Support of

Romania’s Motion to Dismiss (the “Motion”) complies with the word limit of 8,750 words set

forth in this Court’s Local Rule 7.1. According to the word-processing system used to prepare

the Motion, the total word count for all text in the Motion, including footnotes and endnotes, but

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                                                       /s/ Thaddeus J. Stauber
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